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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF NEW YORK


                                                 :
In re:                                           :    Chapter 11
                                                 :
ALL YEAR HOLDINGS LIMITED,                       :    Case No. 21-12051 (MG)
                                                 :
                       Debtor.                   :
                                                 :

             NOTICE BY PARAGRAPH PARTNERS LLC OF REVOCATION
                OR IN THE ALTERNATIVE TERMINATION OF THE
                          INVESTMENT AGREEMENT

         PLEASE TAKE NOTICE that on November 15, 2022, Paragraph Partners LLC issued

the attached notice of its revocation or, in the alternative, termination of the Investment Agreement

dated March 11, 2022, as amended.

         PLEASE ALSO TAKE NOTICE that nothing herein shall be deemed to waive any of

Paragraph Partners LLC’s rights and remedies at law and equity, and all such rights and remedies

are expressly reserved.

November 15, 2022                             Respectfully Submitted,

                                              LOCKE LORD LLP

                                              /s/ Shalom Jacob
                                              Shalom Jacob
                                              Stephanie Wickouski
                                              Alan H. Katz
                                              Brookfield Place
                                              200 Vesey Street, 20th Floor
                                              New York, New York 10281
                                              Tel: (212) 415-8600
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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 15, 2022 a copy of the foregoing was filed electronically
and served by operation of the court’s electronic filing system. Parties in interest may access this
document through the court’s CM/ECF System or contact counsel for a copy.

                                              /s/ Shalom Jacob
                                              Shalom Jacob




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                                                                                                              Telephone: 212-415-8600
                                                                                                                     Fax: 212-303-2754
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                                                                                                                          Shalom Jacob
                                                                                                        Direct Telephone: 212-415-8618
                                                                                                                   sjacob@lockelord.com




November 15, 2022


By email and overnight delivery


All Year Holdings Limited1
12 Spencer Street, 3rd Floor
Brooklyn, NY 11211
Attn: Mr. Asaf Ravid and Mr. Ephraim Diamond
Email: ravidasaf@gmail.com; ephraim@arbelcapital.com

Weil, Gotshal & Manges LLP
767 Fifth Avenue
New York NY 10153
Attention: Gary Holtzer and Gavin Westerman
E-mails: gary.holtzer@weil.com; gavin.westerman@weil.com

Gentlemen:

Reference is hereby made to that certain Investment Agreement, dated March 11, 2022 (as
amended on April 21, 2022, May 27, 2022, and September 23, 2022 (via email), and together
with all schedules and exhibits thereto, the “Investment Agreement”), between All Year Holdings
Limited (the “Debtor”), Paragraph Partners LLC (the “Sponsor”), and, with respect to certain
limited provisions, Mishmeret Trust Company Ltd., solely in its capacity as trustee for the Debtor’s
Series B, C, D and E Notes (the “Notes Trustee”). This provides written notice of the Sponsor’s
intent to revoke immediately or, in the alternative, terminate the Investment Agreement, effective
ten (10) days from the date of this letter.

I.      The Investment Agreement is not effective except as to the Break-Up Fee provided
        therein.

By its terms, the Investment Agreement is not effective without court approval. See, e.g., Section
8.02(a), which states: "The Company and Plan Investor acknowledge and agree that this
Agreement and the Transactions are subject to entry of the Confirmation Order and the Ancillary
Approval Orders that embodies the terms of this Agreement.”




1This letter is addressed to All Year Holdings Limited solely due to the notice requirements of Section 12.03
of the Investment Agreement.
               Atlanta | Austin | Boston | Brussels | Chicago | Cincinnati | Dallas | Hartford | Houston | London | Los Angeles
           Miami | New Orleans | New York | Newark | Providence | San Francisco | Stamford | Washington DC | West Palm Beach


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Section 8.01(b) provides, in pertinent part: “Within 14 days following the Agreement Date, the
Company shall file a motion with the Bankruptcy Court reasonably satisfactory to the Plan Investor
seeking approval by the Bankruptcy Court of the Company’s entry into this Agreement ….”

The Company has not filed a motion seeking approval by the Bankruptcy Court of the Company
into the Investment Agreement, nor have a confirmation order and ancillary approval orders been
entered embodying the terms of the Investment Agreement. Because the Investment Agreement
has not been authorized or approved by the Bankruptcy Court, either upon motion as
contemplated by Section 8.01(b) or in a confirmation order or ancillary approval order as stated
in Section 8.02(a), the Investment Agreement did not become effective and the Company has no
rights to enforce it.2

Moreover, the Company, by its letters dated November 9, 2022, to the Bankruptcy Court and to
the Sponsor, respectively, unambiguously repudiated the Investment Agreement.              The
Company’s letter to the Sponsor purports to assert the Company’s alleged right to terminate the
Investment Agreement. However, the Company’s failure to obtain court approval of the
Investment Agreement negates any rights it purports to assert in its letter.

2.     Alternatively, the Sponsor is entitled to validly terminate the Investment Agreement.

Even if the Company did have rights under the Investment Agreement, which it does not, its
numerous breaches entitle the Sponsor to validly terminate it.

To the extent the Investment Agreement may be deemed binding (notwithstanding the lack of
authorization and approval), the Sponsor invokes its right to terminate the Investment Agreement
under Section 11.01(c), which provides that the Sponsor may terminate the Investment
Agreement before the Closing “if the other party shall have breached any representation or
warranty or failed to comply with any covenant or agreement that would cause any Closing
Condition set forth in Section 10.01(a) or Section 10.02(a) not to be satisfied, and (i) such breach
is not waived or (ii) if such breach is curable and is not cured by the breaching party prior to the
earlier of (A) ten (10) Business Days after receipt of notice of the other party’s intent to terminate
and (B) the Outside Date; provided, however, that the terminating party is not then in material
breach of this Agreement.”

The Company has breached representations and warranties or failed to comply with covenants
or agreements that would cause a Closing Condition or Conditions not to be satisfied.

Section 6.01 of the Investment Agreement provides, in pertinent part:

       Plan Investor acknowledges that the Debtor will operate its Business in the context
       of the Bankruptcy Case and the Ancillary Proceedings. Subject to the foregoing,
       the Company shall use commercially reasonable efforts to, and shall use
       commercially reasonable efforts to cause (solely to the extent under its control,
       including in light of not being the manager of certain Transferred Entities), the other
       Transferred Entities to, maintain the Assets in their current condition (in all material

2 On the Company’s motion, the Bankruptcy Court entered an order approving the Break-Up Fee provided
in the Investment Agreement. Only to the extent of the Break-Up Fee has the Investment Agreement
become effective.




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       respects) and, preserve in all material respects the present business operations,
       organization and goodwill of the Business, and the present relationships with
       Persons having significant business relationships with the Business, and the
       parties to this Agreement shall cooperate with one another and shall take
       commercially reasonable steps to stabilize the Company’s assets, work with
       mortgage lenders to lower debt service payments, resolve all open litigation, and
       pay all outstanding debts to facilitate securing a more stable cash flow, all
       consistent with recent past practice. Except (i) as required by applicable Law or by
       Order of the Bankruptcy Court or the courts in the Ancillary Proceedings, or as
       otherwise expressly contemplated by the Transaction Agreements or (ii) for
       matters identified on Schedule 6.01, during the Pre-Closing Period, unless Plan
       Investor otherwise consents in writing (which consent shall not be unreasonably
       withheld, conditioned or delayed), the Company will, and will use commercially
       reasonable efforts to cause (solely to the extent under its control, including in light
       of not being the manager of certain Transferred Entities), the other Transferred
       Entities to, conduct the Business in the ordinary course of business ….

In Section 4.11(a), the Company represents and warrants that “[t]o the Knowledge of the
Company, no event has occurred in the last twelve (12) months or condition exists that with notice
or lapse of time, or both, would constitute a material default by a Transferred Entity under any of
the Real Property Leases, other than defaults that have been cured or waived in writing.

Section 8.02(d) provides, in pertinent party, that “the Company shall be responsible for making all
necessary filings with the Bankruptcy Court and the courts in the Ancillary Proceedings, shall
provide all necessary notices in connection therewith.”

The Company is in breach of the above representations, warranties and covenants, and others,
in the following non-exhaustive regards:

a.     The Company has failed to file a motion seeking approval of the Investment Agreement.

b.     The Company has failed to provide all necessary notices in connection with the filings it
has made in the Bankruptcy Court. Specifically, according to allegations made in a proceeding
pending in Israel, the Company failed to notify certain directors of the Company, who allege that
they have indemnification and/or other claims against the Company, of the Bankruptcy Case and
the proceedings being taken therein. This default jeopardizes the effectiveness of any
confirmation order that may be entered by the Bankruptcy Court.

c.      Certain of the Transferred Entities have failed to segregate tenant deposits and have
converted tenant deposits to the Transferred Entities, in violation of nonwaivable provisions of the
General Obligation Law of the State of New York that are incorporated into real property leases.
The Transferred Entities and the Company have known of this matter for many months, yet it has
not been rectified. This default exposes the Transferred Entities to the loss of the security
provided by the deposits and, additionally, to the possibility of having to pay punitive damages in
addition to returning deposits. Further, we understand that the failure to segregate tenant
deposits is the subject of an enforcement action by the Attorney General of the State of New York




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that has not been concluded. The Transferred Entities that have failed to segregate tenant
deposits are in material default under their Real Property Leases.

d.      The Transferred Entities are in default of certain of their mortgage loans, risking
foreclosure or other action by the lenders, notwithstanding having been provided ample
opportunity to cure such defaults. In particular, by multiple Notices of Non-Compliance and
Reservation of Rights dated June 23, 2022, the Federal Home Loan Mortgage Corporation, as
Master Servicer (“Freddie Mac”), which services in excess of forty (40) of the Transferred Entities’
mortgage loans, notified the Company that the Transferred Entities whose loans are serviced by
Freddie Mac are in default of their Loan Agreements because the Transferred Entities had
changed property managers without first obtaining the consent of the respective lenders.
Although Freddie Mac and its sub-servicers have been willing to work with the Company to cure
these defaults, we understand that the defaults remain, primarily due to the failure of the Company
and the Transferred Entities to provide Freddie Mac and the sub-servicers with property
management agreements that meet Freddie Mac’s requirements.

e.     The Company is apparently using and dissipating the proceeds of the MY 2011 Grand
Settlement, notwithstanding that such proceeds are an asset that is to remain with the
Reorganized Debtor.

f.      The Company has breached the Investment Agreement in the particulars set forth in the
complaint the Sponsor filed against the Notes in Israel. Such breaches were to be resolved by
the tentative agreement reached at the mediation conducted by Judge Beckerman. However, the
Company has refused to honor the terms reached at the mediation, and the breaches have not
been rectified.

The above mentioned breaches are not exhaustive. The Sponsor reserves all rights to assert
additional breaches, and all remedies at law and equity.

III.   Revocation, Termination and Demand.

The Sponsor hereby revokes the Investment Agreement and, alternatively, terminates the
Investment Agreement as authorized by Section 11.01(c). The Sponsor demands that the
Company return the Escrowed Funds to the Sponsor and join with the Sponsor in providing written
instructions directing the Escrow Agent to return the executed signature page of the Guaranty to
the Sponsor.

Very truly yours,



Shalom Jacob




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